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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

    CAITRIONA BRADY                                   :   CIVIL ACTION
                                                      :   NO. 2:19-cv-05082-MAK
                           Plaintiff,                 :
    -vs-                                              :
                                                      :
    THE MIDDLE EAST FORUM,                            :               TRIAL BY JURY
                                                      :
                                                      :
                           Defendant.                 :   DEFENDANT’S ANSWER WITH
                                                      :   AFFIRMATIVE DEFENSES TO
                                                      :   PLAINTIFF’S AMENDED COMPLAINT


           Defendant The Middle East Forum (“The Forum”, “MEF”, or “Defendant”) 1, by counsel,

hereby file an Answer and Affirmative Defenses to the Amended Complaint filed by Catriona

Brady (“Plaintiff” or “Brady”).

                                            I.     PARTIES

           1.      Plaintiff, Caitriona Brady (“Plaintiff’ or “Ms. Brady”) is an adult individual who

resides in the Commonwealth of Pennsylvania.

           Answer: Admitted in part, denied in part. Defendant admits that the plaintiff in
           this action is Ms. Catriona Brady. Defendant is without knowledge as to Plaintiff’s
           residence and therefore the remainder of the allegation is denied.

           2.      Defendant, Middle East Forum (“MEF”) is a business organization existing under

the laws of the Commonwealth of Pennsylvania with an address for the purposes of service 1650

Market Street, Suite 3600, Philadelphia, PA 19103.

           Answer: Admitted.




1
 Mr. Daniel Pipes, Mr. Gregg Roman, and Mr. Matthew Bennett were initially named as co-
defendants, but Plaintiff stipulated to their dismissal, without prejudice, on January 2, 2019.
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       3.      Defendant, Daniel Pipes is an adult individual who resides in the Commonwealth

of Pennsylvania with a business address for the purpose of service at 1650 Market Street, Suite

3600, Philadelphia, PA 19103.

       Answer: Denied. Per the parties’ stipulation entered on January 2, 2020 Plaintiff
       dismissed, without prejudice, Daniel Pipes from this action. Therefore, it is denied
       that Mr. Pipes is a defendant in this action.

       4.      Defendant, Greg Roman is an adult individual who resides in the Commonwealth

Of Pennsylvania with a business address for the purpose of service at 1650 Market Street, Suite

3600, Philadelphia. PA 19103.

       Answer: Denied. Per the parties’ stipulation entered on January 2, 2020 Plaintiff
       dismissed, without prejudice, Gregg Roman from this action. Therefore, it is denied
       that Mr. Pipes is a defendant in this action.

       5.      At all times relevant to this Civil Action, Defendant, Daniel Pipes, and Defendant,

Greg Roman were employees of Defendant, The Middle East Forum, and held supervisory

authority over Plaintiff, Caitriona Brady during Plaintiff’s employment for Defendant.

       Answer: Admitted in part, denied in part. It is admitted that Mr. Pipes, Mr.
       Roman, and Mr. Bennett were employees of The Middle East Forum at times
       relevant to this action. It is admitted that Mr. Pipes held supervisory authority over
       Plaintiff. The remainder of this allegation is denied.

       6.      Defendant, Daniel Pipes is the President of The Middle East Forum and held

supervisor authority over Plaintiff, Caitriona Brady.

       Answer: Admitted in part, denied in part. It is admitted only that Mr. Pipes is the
       President of the Middle East Forum and held supervisory authority over Plaintiff.
       It is denied that Mr. Pipes is a defendant in this action.

       7.      Defendant, Greg Roman is the Director of The Middle East Forum and held

supervisor authority over Plaintiff, Caitriona Brady.

       Answer: Denied.



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       8.      When Defendant, Greg Roman’s ability to work from or visit the office was

curtailed, after the November 2018 meeting, Defendant, Daniel Pipes sent an email to the

employees of the Middle East Forum to notify the staff that Matthew Bennett was acting

supervisor of the Middle East Forum. Accordingly, from November 2018 through February

2019, Matthew Bennett was the supervisor of the Middle East Forum and second in charge

behind Defendant, Daniel Pipes.

       Answer: Denied.

       9.      This changed sometime around March 2019 when Defendant, Greg Roman

resumed his position as Director of the Middle East Forum.

       Answer: Admitted in part, denied in part. It is admitted that sometime in March
       2019, Mr. Roman resumed some prior responsibilities. All other allegations in this
       paragraph are denied.

                                II.     NATURE OF THE CASE

       10.     Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as

codified, 42 U.S.C. §§ 2000e to 20003-17 (amended in 1972.1978, by the Civil Rights Act of

1991, Pub. L. No. 102-166) (“Title VII”); Title 43 PS Labor § 955, the Pennsylvania Human

Relations Act. as amended. 43 P.S, §§ 951, et. seq. (“PHRC”), under the laws of the

Commonwealth of Pennsylvania; and under the Philadelphia Fair Practices Ordinance, § 9-1100

et. seq. (“PFPO”) and seeks damages to redress injuries Plaintiff suffered as a result of

Defendants’ discrimination, harassment, retaliation and the hostile work environment which

ultimately led to Plaintiffs unlawful termination from her employment for Defendants.

Accordingly. Plaintiff brings this Civil Action to redress injuries Plaintiff suffered as a direct

result of violations of federal laws, the laws of the Commonwealth of Pennsylvania and the laws

of the City of Philadelphia and seeks damages to redress the injuries Plaintiff has suffered as a

result of being discriminated against on the basis of her sex and gender, and forced to endure a

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hostile work environment, and retaliated against by her employer for reporting such

discrimination and harassment.

       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff brings
       claims under Title VII of the Civil Rights Act of 1964. It is denied that Plaintiff is
       bringing claims under the PHRC and PFPO. Defendant further denies the
       remainder of this allegation and deny that Plaintiff was subject to any of the
       conduct complained of and deny all liability.

                            III.    JURISDICTION AND VENUE

       11.     This action involves a Question of Federal Law under Title VII of the Civil Rights

Act of 1964. The honorable Court also has supplemental jurisdiction over the Commonwealth

Law and Municipal Law Causes of Action.

       Answer: Denied. This allegation is a legal conclusion, and it is therefore deemed
       denied.

       12.     Venue is proper in the Eastern District of Pennsylvania as Plaintiff was employed

by Defendants and worked in the City of Philadelphia in the Commonwealth of Pennsylvania

where the discrimination, harassment and hostile work environment complained of occurred.

       Answer: Denied. This allegation is a legal conclusion, and it is therefore deemed
       denied.

       13.     On or around June 20, 2019, Plaintiff, Caitriona Brady filed a Charge of

Discrimination with the Equal Employment Opportunity Commission (“EEOC”) against

Defendants as set forth herein. Plaintiff’s Charge of Discrimination was dual filed with the

Pennsylvania Human Relations Commission and the Philadelphia Commission on Human

Relations.

       Answer: Admitted.

       14.     Plaintiff, Caitriona Brady’s claims under the Pennsylvania Human Relations Act

and the Philadelphia Fair Practices Ordinance are not yet ripe for suit. Plaintiff intends to amend

her Complaint sometime after her claims under the Commonwealth of Pennsylvania and the City

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of Philadelphia become ripe. This will occur one year after Plaintiff’s Charge was dual filed.

Plaintiff includes the Counts below to provide notice of her claims under Commonwealth and

City antidiscrimination laws, however, Plaintiff understands that she may not pursue these claims

until sometime after July 2020.

        Answer: Admitted in part, denied in part. Admitted as to the fact that the
        aforementioned claims are not yet ripe for suit, denied as to the validity of the
        factual basis for these claims. Further, Defendant has no knowledge regarding
        Plaintiff’s future plans to file additional claims and therefore denies these
        allegations.

        15.    On or about July 31, 2019, the EEOC issued and sent a Dismissal and Notice of

Rights to Plaintiff which required that Plaintiff file a civil action within ninety (90) days of

receipt of the Dismissal and Notice of Rights in order to preserve Plaintiff’s rights under federal

laws.

        Answer: Admitted.

        16.    This action is hereby commenced within ninety (90) days of receipt of the

Dismissal and Notice of Rights which is dated and was sent July 31, 2019.

        Answer: Admitted.

                                   IV.     MATERIAL FACTS

        17.    Plaintiff, Caitriona Brady began her employment for Defendant, The Middle East

Forum (“MEF”) sometime around May 2017

        Answer: Admitted

        18.    Plaintiff was hired and began her employment at MEF as an intern.

        Answer: Admitted

        19.    Today, Plaintiff, Caitriona Brady holds the position of Development Associate

and reports to supervisors, Defendant, Daniel Pipes and Defendant, Greg Roman.

        Answer: Denied.

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       20.     All of the conduct and comments to which Plaintiff Caitriona Brady was

subjected occurred during a period of time that extended until November 2018. The comments

described listed below occurred from August 25, 2019 until November 2019. As Plaintiff filed

her Charge of Discrimination June 20, 2019, all acts that occurred after August 25, 2019 have

been timely exhausted and pled.

       Answer: Denied.

       21.     Plaintiff claims violations of the continuous violations doctrine as Plaintiff was

subjected to severe and pervasive discrimination and harassment in the workplace beginning

sometime around January 2018 and continuing until November 2018.

       Answer: Denied. This allegation is a legal conclusion, and it is therefore deemed
       denied. All other allegations in this paragraph are denied.

       22.     Defendant Greg Roman began a campaign of sex and gender discrimination to

which Plaintiff, Caitriona Brady was subjected. This campaign of sex and gender discrimination

was severe and pervasive and occurred on a continuous basis from January 2018 until November

2018. Defendant, Greg Roman continued his campaign of sex and gender discrimination from

sometime around January 2018 until November 2018 when Defendant, Greg Roman was forced

to discontinue visiting the MEF headquarters.

       Answer: Denied.

       23.     Defendant Greg Roman was forced to discontinue working at the MEF

headquarters in Philadelphia because of the severe and pervasive discrimination and harassment

to which he subjected Plaintiff, Caitriona Brady.

       Answer: Denied.

       24.     Defendant, Caitriona Brady was part of a group of female employees whose

reports of discrimination and harassment led to a meeting in November 2018. Pursuant to the


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information reported by female staff including Plaintiff, Caitriona Brady, Defendant, Greg

Roman was no longer permitted to work at or visit the MEF headquarters in Philadelphia.

       Answer: Denied.

       25.     Defendant Greg Roman’s campaign of sex and gender discrimination to which

Plaintiff was subjected started sometime around January 2018 and continued until November

2018. This period is the continuous period during which Plaintiff, Caitriona Brady was subjected

to a hostile work environment.

       Answer: Denied.

       26.     The discrimination and harassment described in this First Amended Complaint

did not stop and start. From January 2018 until November 2018 Defendant, Greg Roman

initiated a campaign of continuous sex and gender discrimination to which Plaintiff, Caitriona

Brady was subjected during her employment for Defendants.

       Answer: Denied.

       27.     Plaintiff filed her Charge of Discrimination June 20, 2019. A theory predicated

upon the continuous violations doctrine will include all acts that contributed to the hostile work

environment as long as the last act occurred within the statutory period. Plaintiff’s statute of

limitations for filing her Charge of Discrimination under federal protections is three-hundred

(300) days. Three-hundred (300) days prior to June 20, 2019 is August 25, 2018. Defendant,

Greg Roman’s continuous campaign of sexual harassment and abuse reached far beyond the

August 25, 2018 statute of limitations and did not end until November 2018. Accordingly,

Plaintiff, Caitriona Brady claims violations of the continuing violations doctrine and includes all

acts of sexual harassment and abuse that occurred beginning January 2018 and continuing until

November 2018.



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       Answer: Admitted in part, denied in part. It is admitted only that Plaintiff filed a
       Charge of Discrimination on June 20, 2019. The remainder of this allegations is
       denied as Defendant denies all allegations of harassment and abuse.

       28.     Defendant, Greg Roman’s comments and conduct may have started before the

August 25, 2019 statutory period, however, the campaign of sex and gender discrimination

continued without pause until November 2018 when Defendant, Greg Roman was forced to stop

visiting Middle East Forum headquarters.

       Answer: Denied.

       29.     Defendant, Greg Roman could no longer visit MEF headquarters because of the

severe and pervasive sex and gender discrimination to which Plaintiff, Caitriona Brady was

subjected on a continuous basis without pause from January 2018 until November 2018.

       Answer: Denied.

       30.     Importantly, the only reason that Defendant, Greg Roman stopped the unwelcome

sex and gender discrimination in November 2018 was because Defendant, Greg Roman was no

longer allowed to visit or work at the MEF Philadelphia headquarters. This was directly because

of the risk of harm that Defendant, Greg Roman’s presence had related to the female staff.

Defendant, Greg Roman was ordered to discontinue all visits to the MEF Philadelphia

headquarters immediately in November 2018.

       Answer: Denied.

       31.     Defendant, Greg Roman’s campaign sex and gender discrimination only stopped

when Plaintiff, Caitriona Brady and several coworkers reported Defendant, Greg Roman’s severe

and pervasive sex and gender discrimination. Defendant, Greg Roman was forced to discontinue

all visits to MEF headquarters as a direct result of his continuous and nonstop campaign of

sexual harassment and abuse to which Plaintiff, Lisa Barbounis was subjected by Defendant,

Greg Roman.

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         Answer: Denied.

         32.   Defendant, Greg Roman is very high up in the organization of the Middle East

Forum and currently holds the position of Director of the Middle East Forum.

         Answer: Admitted in part, denied in part. Defendant admits that Mr. Roman
         currently holds the position of Director of the Middle East Forum.

         33.   At all times relevant to this civil action Defendant, Greg Roman held the position

of Director of the Middle East Forum.

         Answer: Admitted.

         34.   As the Director of the Middle East Forum, Defendant, Greg Roman was the

penultimate person in charge of the Middle East Forum. Accordingly, Defendant, Greg Roman

along with Defendant, Daniel Pipes, ran and managed the Middle East Forum.

         Answer: Denied.

         35.   Defendant, Greg Roman was and continues to be so high up in the organization

that the only person to whom Defendant, Greg Roman reports is Defendant, Daniel Pipes.

         Answer: Admitted in part, denied in part. It is admitted only that Mr. Roman
         reports to Mr. Pipes. The remainder of this allegation is denied.


         36.   Defendant, Greg Roman is considered by Defendant, Daniel Pipes to be crucial to

the operations and success of the Middle East Forum.

         Answer: Denied.

         37.   Defendant, Greg Roman has the ability to create policy for the Middle East

Forum.

         Answer: Denied.

         38.   Defendant, Greg Roman must be considered a proxy for MEF and all

discrimination and harassment to which Plaintiff, Caitriona Brady was subjected including the



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discrimination and harassment based upon sex and gender, and retaliation by Defendant, Greg

Roman should be held to a proxy-liability standard.

       Answer: Denied.

       39.     Defendant, Daniel Pipes is currently the President of the Middle East Forum.

There are no individuals employed by the Middle East Forum who hold positions above

Defendant, Daniel Pipes.

       Answer: Admitted.

       40.     Defendant, Greg Roman, and Defendant, Daniel Pipes are responsible for

developing, enacting, and enforcing all policies, procedures, protocols employed to operate the

Middle East Forum.

       Answer: Denied.

       41.     At all times relevant to this Civil Action Defendant, Daniel Pipes was the

President of MEF.

       Answer: Admitted.

       42.     Defendant, Greg Roman is a large man and uses his size and height in his violent

and aggressive interactions with female employees who Defendant, Greg Roman supervised.

       Answer: Denied.

       43.     Defendant, Greg Roman used his size to intimidate and sometimes overpower

female employees who Defendant, Greg Roman supervised with proxy-authority as Director of

the MEF.

       Answer: Denied.

       44.     Defendant, Greg Roman sexually assaulted Plaintiff, Caitriona Brady’s coworker,

Patricia McNulty at the AIPAC conference which occurred in Washington D.C., when




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Defendant, Greg Roman violently yanked Patricia McNulty across the couch, onto his lap, and

whispered inappropriate, unwelcome sexual advances in Ms. McNulty’s ear.

       Answer: Denied.

       45.     Defendant, Greg Roman subjected Plaintiff, Caitriona Brady to discrimination

and harassment based upon Plaintiff’s sex and gender until November 2018 when Defendant,

Greg Roman was forced to discontinue working from the MEF office due to a large number of

reports of sexual harassment, sexual misconduct, and sex and gender discrimination involving

Defendant, Greg Roman and the female staff of the Middle East Forum.

       Answer: Denied.

       46.     Plaintiff, Caitriona Brady was subjected to discrimination and harassment based

upon her sex and gender by Defendant, Greg Roman when Defendants brought Defendant, Greg

Roman back to the Middle East Forum and allowed Defendant, Greg Roman to continue his

position as Director of the Middle East Forum sometime around March 2019 until the present.

       Answer: Denied.

       47.     Plaintiff, Caitriona Brady was forced to work in a hostile work environment due

to Defendant, Greg Roman’s severe and pervasive discrimination and harassment based upon

Plaintiff, Caitriona Brady’s sex and gender while Plaintiff, Caitriona Brady worked in the

Philadelphia MEF office.

       Answer: Denied.

       48.     Defendant, Greg Roman counted the number of times Plaintiff, Caitriona Brady

used the rest room.

       Answer: Denied.




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       49.     Working with Defendant, Greg Roman meant that Plaintiff, Caitriona Brady

would have to contend with Defendant, Greg Roman’s inappropriate conduct and comments

aimed toward the MEF female staff based upon their sex and gender.

       Answer: Denied.

       50.     Employees who have worked with Defendant, Greg Roman who have stated that

working with Defendant, Greg Roman meant having to contend with Defendant, Greg Roman’s

inappropriate conduct and comments including sexually inappropriate conduct and comments

include but is in no way limited to: (1) Lisa Barbounis, (2) Patricia McNulty, (3) Marnie Meyer,

(4) Tiffany Lee, (5) Caitriona Brady, (6) Delaney Yonchek, (7) Leah Merville, (8) Alana

Goodman, (9) Eman Patel, (10) Samantha Mandalas, (11) Laura Frank, (12) Lara (last name

unknown), (13) Rosie (last name unknown), and (14) Gabrielle Bloom.

       Answer: Denied.

       51.     At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Caitriona Brady’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sex and gender discrimination.

       Answer: Denied.

       52.     Defendant, Greg Roman used his position of Director of the MEF to make

Plaintiff’s work more difficult and forced Plaintiff to work longer hours by yelling at Plaintiff,

Caitriona Brady in a violent and aggressive manner.

       Answer: Denied.

       53.     The sex and gender discrimination to which Plaintiff, Caitriona Brady was

subjected during her employment at MEF by Defendant, Greg Roman created a hostile work

environment for Plaintiff, Caitriona Brady.

       Answer: Denied.

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       54.        Defendant, Greg Roman subjected almost every female employee who he

supervised at MEF to unwelcome sex and gender discrimination.

       Answer: Denied.

       55.        Defendant, Greg Roman specifically used his position as a proxy for MEF to

recruit very attractive female employees and prey upon his female staff by subjecting the female

staff to unwelcome sexual advances.

       Answer: Denied.

       56.        Before Plaintiff, Caitriona Brady began her employment at MEF, there were two

female employees of MEF named Laura Frank (“Laura”) and Lara (last name unknown at this

time) (“Lara”).

       Answer: Admitted.

       57.        Laura and Lara were employees of MEF Their supervisors included Defendant,

Daniel Pipes and Defendant, Greg Roman.

       Answer: Admitted.

       58.        Defendant, Greg Roman was the direct supervisor of Laura Frank and Lara (last

name unknown).

       Answer: Admitted.

       59.        Laura and Lara were subjected to severe and pervasive discrimination and

harassment due to their sex and gender.

       Answer: Denied.

       60.        Laura and Lara engaged in protected activity when they held discussions using

private Google instant messaging and considered their options for legal recourse due to

Defendant, Greg Roman’s discrimination and harassment in the workplace. Laura and Lara were




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subjected to retaliation when they opposed and/or reported the severe and pervasive

discrimination to which Laura and Lara were subjected during their employment at MEF.

       Answer: Denied.

       61.     Laura and Lara engaged in protected activity when they discussed and considered

initiating legal action to vindicate their rights due to the severe and pervasive discrimination and

harassment in the workplace to which they were subjected by Defendant, Greg Roman during

their employment at MEF.

       Answer: Denied.

       62.     Laura and Lara used instant Google messaging to discuss the unwelcome sexual

harassment to which Defendant, Greg Roman subjected Laura and Lara during their employment

at MEF.

       Answer: Denied

       63.     Defendant, Greg Roman broke into Laura and Lara’s computers after work one

evening and discovered, by reading their private Google instant messaging, that Laura and Lara

were currently discussing their legal options due to Defendant, Greg Roman’s discrimination and

harassment in the workplace due to sex and gender.

       Answer: Denied.

       64.     Defendant, Greg Roman discussed the instant Google messages between Laura

and Lara with Defendant, Daniel Pipes.

       Answer: Denied

       65.     Together, Defendant, Greg Roman and Defendant, Daniel Pipes decided to

terminate both Laura and Lara’s employment. This termination constituted unlawful retaliation

as Laura and Lara were terminated for engaging in protected activity.



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       Answer: Denied. This allegation is a legal conclusion, and it is therefore deemed
       denied.

       66.     Defendant, Daniel Pipes and Defendant, Greg Roman refused to investigate the

information that was discovered on Laura and Lara’s private Google instant messaging. Because

of Defendant, Greg Roman and Defendant, Daniel Pipe’s refusal to investigate and remediate the

issues raised by Laura and Lara, the hostile work environment at the MEF was permitted to

continue, and Defendant, Greg Roman was authorized to continue his unlawful conduct which

subjected female staff at the MEF to sex and gender discrimination.

       Answer: Denied.

       67.     Defendants did not initiate remedial measures as a result of the information

discovered in Laura and Lara’s instant Google messaging. MEF took no action to discover and

remediate the severe and pervasive discrimination and harassment in the workplace.

       Answer: Denied

       68.     To the contrary, Defendant, Daniel Pipes and Defendant, Greg Roman have

initiated, implemented and enforced policies designed to frustrate the congressional intent of

federal, state and city anti-discrimination laws enacted to protect female employees from

discrimination and harassment in the workplace.

       Answer: Denied.

       69.     Defendant, Daniel Pipes’ objectives, policies and procedures have worked to

protect Defendant, Greg Roman, despite the ongoing and increasing number of allegations of sex

and gender discrimination and harassment aimed at the female staff in which Defendant, Greg

Roman was implicated.

       Answer: Denied.




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       70.     Defendant, Daniel Pipes has ignored and disregarded ongoing reports of

discrimination and harassment involving Defendant, Greg Roman along with his duty to protect

the female employees who work at the MEF.

       Answer: Denied.

       71.     Accordingly, Defendant, Daniel Pipes’ policies and actions have expressly

communicated that Defendant, Greg Roman’s discrimination and harassment of the female staff

of MEF is allowed, sanctioned, permitted and condoned.

       Answer: Denied.

       72.     Defendant, Greg Roman’s discriminatory conduct and comments as Director of

the MEF has occurred with express authorization of Defendant, Daniel Pipes.

       Answer: Denied.

       73.     This authorization has resulted in MEF’s female staff subjected to severe and

pervasive sexual harassment discrimination and harassment based on sex and gender.

       Answer: Denied.

       74.     Laura Frank and Lara (last name unknown) were unlawfully terminated in

retaliation for discussing and considering reporting Defendant, Greg Roman’s discrimination and

harassment, in the workplace.

       Answer: Denied.

       75.     Laura and Lara were simultaneously terminated from their employment with MEF

due to their sex and gender and in retaliation for opposing and reporting discrimination and

harassment in the workplace.

       Answer: Denied.




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         76.   Plaintiff, Caitriona Brady began her employment soon after Laura and Lara were

unlawfully terminated from their employment by Defendant, Greg Roman and Defendant, Daniel

Pipes.

         Answer: Denied.

         77.   Defendant, Daniel Pipes has a history of discrimination of women based upon

their sex and gender.

         Answer: Denied.

         78.   Defendant, Greg Roman also has a history of discrimination and harassment of

women based on their sex and gender.

         Answer: Denied.

         79.   Female employees who worked with Defendant, Daniel Pipes have been

subjected to ridicule, abuse, discrimination, and harassment due to their sex and gender.

         Answer: Denied.

         80.   Rosie (last name unknown) (“Rosie”) was a female employee who worked at The

Middle East Forum.

         Answer: Denied.

         81.   Rosie worked at The Middle East Forum about one year before Plaintiff,

Caitriona Brady.

         Answer: Denied.

         82.   Defendant, Greg Roman asked Rosie to transition to a position as an assistant to

Greg Roman.

         Answer: Denied.




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       83.    Defendant, Greg Roman unlawfully targeted and terminated Rosie’s employment

due to Rosie’s membership in a protected class with the authorization, consent, knowledge, and

permission of Defendant, Daniel Pipes.

       Answer: Denied.

       84.    Rosie abandoned her employment for MEF to avoid working closely with

Defendant, Greg Roman.

       Answer: Denied.

       85.    Prior to leaving her employment for MEF, Rosie said, “I will be dead before

working for Greg Roman.’’

       Answer: Denied. Defendant lacks knowledge or information sufficient to form a
       belief about the truth of this allegation and it is therefore denied.

       86.    Rosie refused to work with Defendant, Greg Roman due to the severe and

pervasive discrimination and harassment of female employees and the hostile work environment

which Defendant, Greg Roman created for his female staff.

       Answer: Denied.

       87.    Plaintiff, Caitriona Brady is not the only female employee who Defendant, Greg

Roman supervised who has alleged that Defendant, Greg Roman subjected her to sex and gender

discrimination and harassment.

       Answer: Denied.

       88.    Defendant, Greg Roman has subjected multiple female employees to severe and

pervasive sex and gender discrimination and harassment.

       Answer: Denied.




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       89.     Many of these female employees who have worked for Defendant, Greg Roman

have filed Charges of Discrimination at the EEOC to report Defendant, Greg Roman’s

discrimination and harassment based upon sex and gender.

       Answer: Admitted in part, denied in part. It is admitted that Plaintiff is not the
       only female employee of the Middle East Forum who has filed a Charge of
       Discrimination with the EEOC. All other allegations are denied.

       90.     Female employees who have reported Defendant, Greg Roman’s sexual

harassment, sexual misconduct, sexually inappropriate behavior including quid pro quo sexual

harassment, stalking like behavior, and in some cases sexual assaults, include (1) Lisa Barbounis,

(2) Plaintiff, Patricia McNulty, (3) Tiffany Lee, (4) Caitriona Brady, and (5) Delaney Yonchek.

       Answer: Denied as stated. While some of the women identified in this allegation
       made “reports” regarding Mr. Roman’s alleged misconduct, these reports were/are
       false. Defendant denies vehemently that Mr. Roman engaged in sexual harassment,
       sexual misconduct, sexually inappropriate behavior, quid pro quo harassment,
       stalking, and/or sexual assaults.

       91.     Tiffany Lee is yet another employee who Defendant, Greg Roman supervised and

subjected to discrimination, harassment and sexual harassment due to sex and gender.

       Answer: Denied.

       92.     Sometime around May 2016, Defendant, Greg Roman invited Tiffany Lee to visit

his home in Margate for the weekend.

       Answer: Denied.

       93.     Defendant, Greg Roman made sure to inform Tiffany Lee that Defendant, Greg

Roman’s wife and children would not be home during Tiffany Lee’s visit to Defendant, Greg

Roman’s home.

       Answer: Denied.

       94.     Defendant, Greg Roman subjected Tiffany Lee to inappropriate sexual advances

and called and texted Tiffany Lee at inappropriate times at night and on the weekends.

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       Answer: Denied.

       95.     Tiffany Lee reported Defendant, Greg Roman’s discrimination and harassment

and sexual harassment.

       Answer: Denied.

       96.     Defendant, Daniel Pipes refused to investigate.

       Answer: Denied

       97.     Defendant, Daniel Pipes refused to initiate prompt remedial measures.

       Answer: Denied

       98.     Tiffany Lee was subjected to a campaign of retaliation by Defendant, Greg

Roman which culminated in Tiffany Lee’s termination which occurred a short time after Tiffany

Lee reported Defendant, Greg Roman’s sexual harassment.

       Answer: Denied.

       99.     Defendant, Greg Roman gave a former intern of the Middle East Forum named

Gabrielle Bloom $1,500.00 in cash when interns do not receive compensation from the MEF.

       Answer: Denied.

       100.    The intern voluntarily left the MEF and has stated that she left to avoid what she

characterized as future, inappropriate sexual advances visited upon her by Defendant, Greg

Roman. She said she could see it coming and left to avoid being put in that position.

       Answer: Denied.

       101.    Defendant, Greg Roman’s method of operation is that of a sexual predator.

       Answer: Denied.

       102.    Defendant, Greg Roman uses his size, height, authority, and power to make

female employees who work at the MEF feel intimidated, threatened and uncomfortable. This




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works best with interns of the MEF who Defendant, Daniel Pipes targets despite their age and

the clear imbalance of power.

       Answer: Denied.

       103.   Defendant, Greg Roman has also subjected Plaintiff, Caitriona Brady’s coworker,

Marnie Meyer to severe and pervasive discrimination and harassment in the workplace based

upon her sex and gender.

       Answer: Denied.

       104.   Marnie Meyer is the Director of Human Resources for Defendant, MEF.

       Answer: Denied.

       105.   Defendant, Greg Roman has harassed and discriminated against Marnie Meyer

and has attempted to lure Marnie Meyer across national borders with the intention of using fraud,

physical force and/or coercion in order to engage Marnie Meyer in sexual acts.

       Answer: Denied.

       106.   Defendant, Greg Roman offered Marnie Meyer a trip to Israel and then expressly

conditioned the trip to Israel on sharing the same Airbnb. Defendant, Greg Roman stated that

Marnie Meyer could only accompany Defendant, Greg Roman if she agreed to share an Airbnb.

       Answer: Denied as stated. By way of further response, when Mr. Roman was
       planning the trip to Israel, the budget was limited and security was imperative. It
       was necessary for Defendant to be cost-conscious. Mr. Roman was fully transparent
       with Ms. Meyer when he explained to her that should she choose to travel to Israel,
       the accommodations would be a multi-bedroom Airbnb. Mr. Roman did not push
       Plaintiff to attend this trip; she eagerly volunteered. Mr. Roman only agreed to take
       Plaintiff after other MEF employees declined his invitation to go. Mr. Roman, on
       previous trips, stayed with other staff members at Airbnbs. These were the same
       accommodations that were also offered to male employees. Mr. Roman, on previous
       trips, stayed with other staff members at AirBnBs.




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       107.   Defendant, Greg Roman refused to allow Marnie Meyer to travel across national

borders to Israel unless Marnie Meyer shared the same living space with Defendant, Greg

Roman.

       Answer: Denied.

       108.   Defendant, Marnie Meyer refused to share an Airbnb with Defendant, Greg

Roman due to the obvious implication of the inappropriate condition.

       Answer: Denied.

       109.   Defendant, Greg Roman had already subjected Marnie Meyer to severe and

pervasive discrimination and harassment in the workplace based upon sex and gender.

       Answer: Denied.

       110.   Marnie Meyer was also subjected to discrimination and harassment from

Defendant, Greg Roman.

       Answer: Denied.

       111.   Marnie Meyer was harassed and sexually harassed by Defendant, Greg Roman to

such an extent that Marnie Meyer had to notify Defendant, Greg Roman, “I am never going to

sleep with you.”

       Answer: Denied.

       112.   Defendant, Greg Roman next asked Plaintiff, Caitriona Brady’s coworker, Lisa

Barbounis to travel to Israel with him. Defendant, Greg Roman provided the same condition to

Lisa Barbounis.

       Answer: Denied.

       113.   Defendant, Greg Roman provided Plaintiff, Caitriona Brady’s coworker, Lisa

Barbounis the same quid pro quo arrangement and conditioned the trip to Israel on sharing a

living space with Defendant, Greg Roman.

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        Answer: Denied.

        114.   Defendant, Greg Roman informed Lisa Barbounis that she could only travel

across national borders to Israel if Lisa Barbounis agreed to share an Airbnb with him.

        Answer: Denied as stated. By way of further response, when Ms. Barbounis asked if
        she could go with Mr. Roman to Israel, he told her that should she decide to come
        with him, they would be sharing a multi-bedroom AirBnb. Given certain budget
        constraints and security considerations, a multi bedroom Airbnb was the chosen
        arrangement which was made known to Plaintiff, who did not object.

        115.   Plaintiff’s coworker, Lisa Barbounis has always wanted to travel to Israel.

        Answer: Denied. Defendant’s lack of knowledge or information sufficient to form a
        belief about the truth of this allegation and it is therefore denied.

        116.   Accordingly, Defendant, Greg Roman leveraged Lisa Barbounis’s desire to see

Israel to lure her across national borders with the intent of using fraud, coercion and/or force to

engage Lisa Barbounis in sexual acts.

        Answer: Denied.

        117.   Accordingly, in April 2018, Defendant, Greg Roman and Lisa Barbounis traveled

to Israel.

        Answer: Admitted in part, denied in part. It is admitted only that Mr. Roman and
        Plaintiff traveled to Israel in April 2018. It is denied that the travel was according
        to the foregoing allegations.

        118.   An eighteen (18) year old intern named Leah Merville is yet another MEF intern

who Defendant, Greg Roman targeted and propositioned for sex.

        Answer: Denied.

        119.   Defendant, Greg Roman sexually harassed Leah Merville by asking Leah

Merville to visit his hotel room to sign certain paperwork which Leah Merville required.

        Answer: Denied.




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       120.    Defendant, Greg Roman said, I will sign it and give it to you. The paperwork was

apparently required paperwork for Leah Merville’s completion of her internship.

       Answer: Denied.

       121.    Leah Merville is a young girl who was an intern at MEF. Leah Merville is from

France and traveled to Israel alone and lived in a strange country with no good friends or family

nearby. Defendant, Greg Roman used his position of power and authority to pressure Leah

Merville into engaging in sexual acts with him.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Merville was
       an intern for MEF and she is from France. Defendant denies the remainder of this
       allegation.

       122.    Defendant, Greg Roman told Leah Merville to come to his hotel room because

that is where he had the paperwork that Leah Merville needed signed.

       Answer: Denied.

       123.    Defendant, Greg Roman also subjected Plaintiff, Caitriona Brady to

discrimination based on sex and gender and was violently aggressive toward female staff

members including Plaintiff, Caitriona Brady.

       Answer: Denied.

       124.    Defendant, Greg Roman screamed at Plaintiff, Caitriona Brady.

       Answer: Denied.

       125.    Defendant, Greg Roman yelled at Plaintiff, Caitriona Brady in a violent and

aggressive manner.

       Answer: Denied.

       126.    Defendant, Greg Roman did not treat Plaintiff’s similarly situated male coworkers

in this discriminatory, abusive, hostile and intolerable manner.

       Answer: Denied.

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       127.   Defendant, Greg Roman also subjected Plaintiff’s female coworkers to

discrimination and harassment due to their sex and gender.

       Answer: Denied.

       128.   Defendant, Greg Roman also subjected coworker, Lisa Barbounis to severe and

pervasive discrimination and harassment based upon her sex and gender.

       Answer: Denied.

       129.   Defendant, Greg Roman also subjected Plaintiff’s coworker, Patricia McNulty to

severe and pervasive discrimination and harassment based upon her sex and gender.

       Answer: Denied.

       130.   Defendant, Greg Roman also subjected Plaintiff’s coworker, Delaney Yonchek to

severe and pervasive discrimination and harassment based upon her sex and gender.

       Answer: Denied.

       131.   Defendant, Greg Roman also subjected Plaintiff’s coworker, Marnie Meyer to

severe and pervasive discrimination and harassment based upon her sex and gender.

       Answer: Denied.

       132.   At all times, Defendant, Greg Roman was Plaintiff Caitriona Brady’s direct

supervisor and held proxy authority as the number two executive of the MEF.

       Answer: Denied.

       133.   Defendant, Greg Roman has subjected several other female employees who

worked at the MEF to discrimination and harassment based upon their sex and gender.

       Answer: Denied.

       134.   Defendant, Greg Roman developed, implemented and enforced policies,

procedures and protocols designed to limit employees’ access to President, Daniel Pipes.

       Answer: Denied.
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       135.    These policies which were strictly enforced which eliminated employees’ ability

to talk directly to Defendant, Daniel Pipes essentially set up Defendant, Greg Roman as the very

top MEF employee who employees could go to for assistance.

       Answer: Denied.

       136.    Defendant, Greg Roman developed and enforced these policies with the intention

of limiting Plaintiff, Caitriona Brady’s ability to report Defendant, Greg Roman’s discrimination

and harassment of the female staff based upon their sex and gender.

       Answer: Denied.

       137.    Defendant, Greg Roman developed, implemented and enforced policies which

were approved by Defendant, Daniel Pipes whereby employees including Plaintiff, Caitriona

Brady were not allowed to go directly to Defendant, Daniel Pipes to express concerns or obtain

assistance.

       Answer: Denied.

       138.    Defendant, Greg Roman made inappropriate comments in the presence of

Plaintiff, Caitriona Brady.

       Answer: Denied.

       139.    Defendant, Greg Roman made comments about women’s looks, saying, look how

hot this one is, look how hot that one is.

       Answer: Denied.

       140.    Defendant, Greg Roman made comments about a former employee named

Tiffany Lee stating that she always had her boobs out and purposely did this to sexually entice

him.

       Answer: Denied.



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         141.   Defendant, Greg Roman spoke about Tiffany Lee and described the way that

Tiffany Lee looked and blamed Tiffany Lee and the way she dressed for tempting Defendant,

Greg Roman.

         Answer: Denied.

         142.   Defendant, Greg Roman subjected Plaintiff, Caitriona Brady to discrimination

and harassment in the office based upon Plaintiff’s sex and gender.

         Answer: Denied.

         143.   Defendant, Greg Roman was highly insulting to Plaintiff, Caitriona Brady in the

manner in which he spoke to Plaintiff about work and assignments. Plaintiff, Caitriona Brady

reported Defendant, Greg Roman’s demeaning, insulting, condescending to her direct supervisor,

Lisa Barbounis, however, no investigation or remedial measures took place.

         Answer: Denied.

         144.   Defendant, Greg Roman used his size and height to intimidate Plaintiff, Caitriona

Brady.

         Answer: Denied.

         145.   Defendant, Greg Roman entered Plaintiff, Caitriona Brady’s office when she was

not present and explored her computer including personal emails, chat history, and internet

browser history.

         Answer: Denied.

         146.   This is the same conduct which Defendant, Greg Roman subjected Laura and

Lara and led to Laura and Lara’s termination.

         Answer: Denied.




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       147.    Defendant, Greg Roman undertook to discriminate and harass female staff,

including subjecting the female staff to sexual harassment and sexual misconduct with the

express understanding that Defendant, Daniel Pipes would protect Defendant, Greg Roman.

       Answer: Denied.

       148.    Defendant, Greg Roman subjected Plaintiff to severe and pervasive discrimination

and harassment based upon her sex and gender.

       Answer: Denied.

       149.    This discrimination and harassment was evident in the way that Defendant, Greg

Roman spoke to Plaintiff, the assignments he required Plaintiff to complete, the tone of voice he

used, body language, expressions, use of language and cursing, and other threatening conduct.

       Answer: Denied.

       150.    Defendant, Greg Roman created a hostile work environment for Plaintiff,

Caitriona Brady. The work environment was severe and pervasive.

       Answer: Denied.

       151.    Plaintiff reported the discrimination and harassment to which she was subjected

by Defendant, Greg Roman.

       Answer: Denied.

       152.    Plaintiff, Caitriona Brady notified Marnie Meyer who was the Director of Human

Resources.

       Answer: Denied.

       153.    Marnie Meyer prepared a five-page handwritten letter addressed to Daniel Pipes

and provided the letter on November 1, 2018.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Meyer
       prepared a handwritten letter addressed to Mr. Pipes. The remainder of this


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       allegation is denied because the letter is a written document the contents of which
       speak for themselves.

       154.    Marnie Meyer notified Defendant, Daniel Pipes that Defendant, Greg Roman was

using his supervisory authority as Director of the MEF to “railroad” other female employees

including Plaintiff’s coworker, Lisa Barbounis and “set her up for failure.”

       Answer: Denied. Ms. Meyer’s letter is a written document the contents of which
       speak for themselves.

       155.    Marnie Meyer also reported a hostile work environment which was created by

Defendant, Greg Roman.

       Answer: Denied.

       156.    Marnie Meyer also reported to Defendant, Daniel Pipes that Defendant, Greg

Roman had sex with an MEF intern named Leah Merville. Marnie Meyer reported that Leah

Merville was eighteen (18) years old at the time, that Defendant, Greg Roman had sex with Leah

Merville in a hotel room in Israel, and at a time when Leah Merville needed Defendant, Greg

Roman to sign paperwork for her. After reporting this to Defendant, Daniel Pipes, Marnie Meyer

reported that this was just “the tip of the iceberg.”

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Meyer
       reported the above-described conduct to Mr. Pipes. The remaining allegations are
       denied.

       157.    Marnie Meyer also explained that she reported Defendant, Greg Roman’s

unlawful discrimination and harassment with handwritten letters out of fear because Defendant,

Greg Roman used the knowledge he gained as Director of the MEF, including secure passwords,

to spy on employees emails and files. Importantly, this is what led to Laura Frank and Lara (last

name unknown)’s termination.

       Answer: Denied as stated. At some point Ms. Meyer reported what she contended
       to be improper conduct by Mr. Roman. She further told Mr. Pipes why she was
       doing it by hand-written letters, rather than e-mail. Defendant denies that Mr.

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       Roman’s conduct was improper; deny that Ms. Meyer’s complaints were valid; and
       deny all other allegations of this paragraph.

       158.    Accordingly, Marnie Meyer handwrote her reports of discrimination to

Defendant, Daniel Pipes because she was scared to create an electronic record that could be

accessed by Defendant, Greg Roman.

       Answer: Denied. Defendant lacks knowledge or information sufficient to form a
       belief about the truth of this allegation and it is therefore denied.

       159.    Marnie Meyer’s fear of creating an electronic record was directly due to

Defendant, Greg Roman’s conduct including stalking and spying.

       Answer: Denied.

       160.    Several female employees of the Middle East Forum spoke to Defendant, Daniel

Pipes on November 1, 2018.

       Answer: Admitted in part, denied in part. It is admitted only that employees spoke
       to Mr. Pipes on November 1, 2018 regarding Mr. Roman’s conduct. Defendant
       denies all allegations of discrimination and harassment.

       161.    Marnie Meyer made a report to notify Defendant, Daniel Pipes about Defendant,

Greg Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.

Marnie Meyer turned in a five page, detailed, handwritten report of Defendant, Greg Roman’s

unlawful conduct and comments.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Meyer
       contacted Mr. Pipes about some concerns regarding Mr. Roman. Defendant denies
       that her reports were about alleged conduct that, in any way, constituted sexual
       harassment, sexual misconduct, and/or discrimination.

       162.    Lisa Barbounis made a report to notify Defendant, Daniel Pipes about Defendant,

Greg Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination and

specifically reported what occurred during the Israel trip.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Barbounis
       contacted Mr. Pipes about some concerns regarding Mr. Roman. Defendant denies

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       that her reports were about alleged conduct that, in any way, constituted sexual
       harassment, sexual misconduct, and/or discrimination.

       163.   Plaintiff, Caitriona Brady made a report to notify Defendant, Daniel Pipes about

Defendant, Greg Roman’s sexual harassment, sexual misconduct, and/or gender and sex

discrimination.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Brady
       contacted Mr. Pipes about some concerns regarding Mr. Roman. Defendant denies
       that her reports were about alleged conduct that, in any way, constituted sexual
       harassment, sexual misconduct, and/or discrimination.

       164.   Delaney Yonchek made a report to notify Defendant, Daniel Pipes about

Defendant, Greg Roman’s sexual harassment, sexual misconduct, and/or gender and sex

discrimination.

       Answer: Admitted in part, denied in part. It is admitted only that Ms. Yonchek
       contacted Mr. Pipes about some concerns regarding Mr. Roman. Defendant denies
       that her reports were about alleged conduct that, in any way, constituted sexual
       harassment, sexual misconduct, and/or discrimination.

       165.   Prior to November 1, 2018, Defendant, Daniel Pipes was already on express and

actual notice regarding Defendant, Greg Roman’s sexual harassment, sexual misconduct and sex

and gender discrimination.

       Answer: Denied.

       166.   Prior to November 1, 2018, and by at least December 2016, Defendant, Daniel

Pipes was notified about a Charge of Discrimination filed with the Equal Employment

Opportunity Commission alleging that Defendant, Greg Roman subjected female employees to

sexual harassment and sexual misconduct.

       Answer: Admitted in part, denied in part. It is admitted only that prior to
       November 1, 2018, a Charge of Discrimination had been filed with the Equal
       Employment Opportunity Commission. A Charge of Discrimination is a written
       document the contents of which speak for themselves therefore the remainder of this
       allegation is denied.


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       167.     The Charge of Discrimination was filed by former MEF employee, Tiffany Lee.

       Answer: Admitted in part, denied in part. Admitted as to the fact that Tiffany Lee
       filed a Charge of Discrimination; Defendant denies as to the factual basis and
       validity of the charge.

       168.     Defendant, Daniel Pipes was also on notice regarding the allegations of Gabrielle

Bloom, another former MEF intern who left MEF to get away from Defendant, Greg Roman.

       Answer: Denied.

       169.     Regarding both Tiffany Lee and Gabrielle Bloom, Defendant, Greg Roman said

that any sexual harassment they experienced was their fault because they invited it by the way

they dressed.

       Answer: Denied.

       170.     Defendant, Daniel Pipes was also on notice about Laura Frank and Lara (last

name unknown) find their conversations around Defendant, Greg Roman’s unlawful conduct and

comments.

       Answer: Denied as stated. The assertion of “conversation around Defendant,
       Gregg Roman’s unlawful conducted” is too vague and ambiguous for Defendant to
       admit or deny. It does not state enough specificity in order for Defendant to frame
       an adequate response.

       171.     Despite the reports concerning (1) Tiffany Lee, (2) Gabrielle Bloom, (3) Leah

Merville. (4) Laura Frank, (5) Lara (last name unknown), (6) Patricia McNulty, (7) Lisa

Barbounis, (8) Marnie Meyer, (9) Plaintiff, Caitriona Brady, (10) Delaney Yonehek, (11)

Samantha Mandates, (12) Eman Patel, and (13) Rosie (last name unknown), Defendant, Daniel

Pipes made comments such as, “I am just going to have to go with Greg Roman’s word.” It was

decisions like this made by Defendant, Daniel Pipes to protect Defendant, Greg Roman that

provided Defendant, Greg Roman the opportunity to subject Plaintiff to severe and pervasive

discrimination and harassment in the workplace based upon her sex and gender.


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         Answer: Denied.

         172.   Defendant, Daniel Pipes was in possession of and had express and actual

knowledge about numerous reports of Defendant, Greg Roman’s sexual harassment and sexual

misconduct to which Defendant, Greg Roman subjected female employees who worked at The

Middle East Forum.

         Answer: Denied.

         173.   Defendant, Daniel Pipes remained loyal to Defendant, Greg Roman, who has been

accused of preying on female employees of The Middle East Forum for at least the past five (5)

years.

         Answer: Denied.

         174.   At every opportunity, Defendant, Daniel Pipes has introduced policies,

procedures, and protocols designed to punish the female employees of The Middle East Forum

who have claimed abuse and sexual abuse, while rewarding the individual accused of abusing

these same female employees.

         Answer: Denied.

         175.   Had Defendant, Daniel Pipes considered protecting his female staff by acting in

accordance with federal, state and local anti-discrimination laws, Plaintiff, Caitriona Brady

would never have been subjected to severe and pervasive discrimination and harassment in the

workplace by Defendant, Greg Roman.

         Answer: Denied.

         176.   Due to Defendant, Daniel Pipes refusal to investigate and remediate earlier reports

of discrimination and harassment in the workplace, Plaintiff, Caitriona Brady and many other of

Plaintiff’s female coworkers were subjected to a campaign of discrimination and harassment due

to their sex and gender.

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       Answer: Denied.

       177.    Had Defendant, Daniel Pipes acted in accordance with laws aimed at protecting

women from sexual harassment in the workplace, he would have investigated Defendant, Greg

Roman as early as 2016 and prompt remedial measures would have been implemented to

ameliorate and/or eliminate completely the future sex and gender discrimination which the

female staff of the MEF were subjected to thereafter.

       Answer: Denied.

       178.    Defendant, Daniel Pipes held a group meeting on November 1, 2018, during

which, Plaintiff, Caitriona Brady, Lisa Barbounis, Marnie Meyer, Patricia McNulty, and Delaney

Yonchek all expressed grave concerns regarding Defendant, Greg Roman’s discrimination and

harassment of the female staff.

       Answer: Admitted in part, denied in part. Defendant admits that a meeting
       occurred on November 1, 2018 but deny all other allegations in this paragraph.

       179.    During the November 1, 2018 meeting, Defendant, Daniel Pipes was notified

about the sexual assault in Washington D.C., during the AIPAC Conference concerning Plaintiff,

Caitriona Brady’s coworker, Patricia McNulty.

       Answer: Admitted in part, denied in part. It is admitted only that on November 1,
       2018, Mr. Pipes learned of this alleged incident. Defendant denies the occurrence of
       any sexual assault or improper conduct having occurred in Washington D.C. during
       the AIPAC conference and the remainder of this allegation is therefore denied.

       180.    Defendant, Daniel Pipes learned that Defendant, Greg Roman forcefully,

violently, and aggressively picked Patricia McNulty up by her upper thigh and back-side,

dropped her on his lap, and suggested that Ms. McNulty engage in sexual acts with Defendant,

Greg Roman.

       Answer: Admitted in part, denied in part. It is admitted only that on November 1,
       2018, Mr. Pipes learned of the alleged sexual assault. Defendant denies the


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        occurrence of any sexual assault having occurred in Washington D.C. during the
        AIPAC conference and the remainder of this allegation is therefore denied.

        181.       During the November 1, 2018 meeting, Lisa Barbounis reported the sexual

harassment and sexual misconduct and sexual assault that occurred across national borders in

Israel when Defendant, Greg Roman subjected Lisa Barbounis to unwelcome lewd sexual

advances including unwelcome sexual touching.

        Answer: Admitted in part, denied in part. It is admitted only that Plaintiff
        reported an incident that allegedly occurred when she was in Israel with Mr.
        Roman. Defendant denies that this report was accurate. Defendant denies the
        occurrence of any sexual harassment, sexual misconduct, sexual assault, and
        unwelcome sexual advances having occurred during Mr. Roman’s and Plaintiff’s
        time in Israel. The remainder of this allegation is therefore denied.

        182.       On November 1, 2018, The Middle East Forum’s female staff informed

Defendant, Daniel Pipes about Defendant, Greg Roman’s ongoing severe and pervasive

discrimination and harassment in the workplace including Defendant, Greg Roman’s decision to

proposition an eighteen (18) year old intern for sex in a hotel room in Israel while holding

paperwork the intern required over her head.

        Answer: Admitted in part, denied in part. It is admitted only that female
        employees alleged discrimination and harassment occurring in the workplace.
        Defendant denies all allegations of workplace discrimination and harassment. The
        remainder of this allegation is therefore denied.

        183.       Defendant, Daniel Pipes responded to the reports of sexual harassment, sexual

misconduct, and sexual assaults by telling Plaintiff, Caitriona Brady, Lisa Barbounis. Marnie

Meyer, Patricia McNulty. and Delaney Yonchek that Defendant, Greg Roman’s conduct was not

that big a deal.

        Answer: Denied.

        184.       Defendant, Daniel Pipes suggested that because priests who molest children were

permitted by the Catholic Church to remain priests, Defendant, Greg Roman should be permitted


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to continue his employment at the MEF. Defendant, Daniel Pipe indicated that the policy which

established the standard for terminating the Director of the Middle East Forum was not even

reached if; was proven that the Director of the Middle East Forum had molested minor children.

        Answer: Denied.

        185.   Defendant, Daniel Pipes said, “‘priests have been accused of more and not lost

their jobs.”

        Answer: Denied.

        186.   Defendant, Daniel Pipes did not apologize to any of his female staff for the years

of abuse described and reported by his female staff on November 1, 2018.

        Answer: Denied as stated. There was no abuse to apologize for.

        187.   Defendant, Daniel Pipes notified the female staff of The Middle East Forum

including Plaintiff, Caitriona Brady, Marnie Meyer, Lisa Barbounis, Patricia McNulty, and

Delaney Yonchek that The Middle East Forum maintains standards which inform when

discipline for sexual harassment in warranted.

        Answer: Admitted.

        188.   Defendant, Daniel Pipes then told his female staff of The Middle East Forum that

Defendant, Greg Roman’s conduct and comments over the years had not risen to the level where

discipline was warranted. He said that Defendant, Greg Roman’s conduct had not reached the

MEF standards for discipline.

        Answer: Denied.

        189.   Defendant, Daniel Pipes’ conclusion that Defendant, Greg Roman’s conduct and

comments had not risen to the level where discipline was warranted was based upon MEF

policies which Defendant, Daniel Pipes claimed supported his conclusions.

        Answer: Denied.

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       190.    Defendant, Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and

comments had not risen to the level where discipline was warranted was in response to learning

that coworker, Patricia McNulty had been sexually assaulted in Washington D.C. during the

AIPAC Conference.

       Answer: Denied.

       191.    Defendant, Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and

comments had not risen to the level where discipline was warranted was in response to learning

that a female staff member of The Middle East Forum named Marnie Meyer had been sexually

harassed.

       Answer: Denied.

       192.    Defendant, Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and

comments had not risen to the level where discipline was warranted was in response to learning

that a female staff member of The Middle East Forum, Lisa Barbounis, had been subjected to

unwelcome sexual touching, sexual assault, sexual harassment, and quid pro quo sexual

proposition.

       Answer: Denied.

       193.    Defendant, Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and

comments had not risen to the level where discipline was warranted was in response to learning

that the Director of the MEF, Defendant, Greg Roman engaged an eighteen (18) year old female

intern named Leah Merville in sexual intercourse in his hotel room, and that he had lured Ms.

Merville to the hotel room with the promise of signing important paperwork which Ms. Merville

required.

       Answer: Denied.

       194.    Accordingly, Defendant, Daniel Pipes initiated no discipline.

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       Answer: Denied as stated.

       195.   Saturday, November 3, 2018, Plaintiff, Caitriona Brady received an email from

Defendant. Daniel Pipes instructing Plaintiff to attend a group meeting scheduled Monday,

November 5, 2018.

       Answer: Denied. Any referenced email is a written communication the contents of
       which speak for themselves and Plaintiff’s characterization thereof is denied.


       196.   This memorandum was sent as a group email to Plaintiff and her coworkers.

       Answer: Denied. Any referenced email is a written communication the contents of
       which speak for themselves and Plaintiff’s characterization thereof is denied.

       197.   Defendant, Greg Roman was included in the email and invited to attend the group

meeting.

       Answer: Denied. Any referenced email is a written communication the contents of
       which speak for themselves and Plaintiff’s characterization thereof is denied.

       198.   Defendant, Greg Roman was specifically asked to attend the group meeting.

       Answer: Admitted.

       199.   It was not until Monday, November 5, 2018 when a call was made to Defendant,

Greg Roman asking that he stay home. This call was made due to the female staff members all

expressing extreme discomfort at the idea of holding a group meeting about Defendant, Greg

Roman with Defendant, Greg Roman.

       Answer: Admitted in part, denied in part. Defendant admits that Mr. Roman was
       later asked to not come of the office on Monday, November 5, 2018. The remainder
       of this allegation is denied.

       200.   Defendant, Greg Roman’s sister attended the meeting in Defendant, Greg

Roman’s place and spent the entire meeting arguing in support of her brother.

       Answer: Admitted in part, denied in part. It is admitted only that MEF employee
       Stacy Roman is Mr. Roman’s sister and that she was present at the meeting. The
       characterization of the substance of Ms. Roman’s communications is denied.

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       201.    Defendant, Greg Roman’s sister said that the woman who Defendant, Greg

Roman sexually harassed were at fault for wearing provocative attire.

       Answer: Denied.

       202.    The November 5, 2018 meeting was indicative of Defendant, Daniel Pipes utter

failure to bring his organization into compliance with state and federal anti-discrimination laws.

       Answer: Denied.

       203.    After the November 5, 2018 meeting- Defendant, Daniel Pipes decided that

Defendant, Greg Roman would retain his position, title, pay, and employment with the Middle

East Forum.

       Answer: Denied.

       204.    Defendant, Daniel Pipes notified Plaintiff, Caitriona Brady that Defendant, Greg

Roman would work from home and that Plaintiff would no longer directly report to Defendant

Greg Roman.

       Answer: Denied.

       205.    Defendant, Daniel Pipes’ claimed that Plaintiff, Caitriona Brady would no longer

be forced to work with Defendant, Greg Roman.

       Answer: Denied.

       206.    Defendant, Daniel Pipes did not enforce his self-prescribed remedial measures

and Plaintiff, Caitriona Brady was forced to continue working with Defendant, Greg Roman.

       Answer: Denied.

       207.    For the next few months, Plaintiff, Caitriona Brady was forced to continue

working with Defendant, Greg Roman.

       Answer: Denied.

       208.    The only change was that Defendant, Greg Roman did not visit the office.

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       Answer: Denied.

       209.    Defendant, Greg Roman’s work duties, responsibilities, and authority remained

unchanged.

       Answer: Denied.

       210.    Plaintiff, Caitriona Brady continued to be subjected to discrimination and

harassment due to her sex and gender. The big difference was that Defendant, Greg Roman set

out on a mission of retaliation aimed at the female employees who reported his unlawful

conduct.

       Answer: Denied.

       211.    Plaintiff was still subjected to the same discrimination and harassment in the

workplace.

       Answer: Denied.

       212.    In fact, the discrimination and harassment got worse, as after the November 5,

2018 meeting, Defendant, Greg Roman unleashed a campaign of retaliation against Plaintiff,

Caitriona Brady, Lisa Barbounis, Marnie Meyer, Patricia McNulty, and Delaney Yonchek.

       Answer: Denied.

       213.    Defendant, Greg Roman openly voiced his retaliatory intent.

       Answer: Denied.

       214.    Defendant, Greg Roman targeted the employees who Defendant, Greg Roman

called “the usurpers.”

       Answer: Denied.

       215.    Defendant, Greg Roman also called the female staff who reported his sexual

harassment and sexual misconduct, “backstabbers.”

       Answer: Denied.

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       216.   Defendant, Greg Roman notified Defendant, Mathew Bennett, “they are all

usurpers and I will never work with usurpers.”

       Answer: Denied.

       217.   Even more recently, Defendant, Greg Roman announced on a radio show that “all

usurpers should be crushed.”

       Answer: Denied. Defendant denies allegations that are inconsistent with the
       recording. Mr. Roman does not recall making this comment, but if he did, it was in
       reference to terrorist organizations.

       218.   Plaintiff was forced to continue working with Defendant, Greg Roman.

       Answer: Denied.

       219.   Plaintiff was still forced to take orders from Defendant, Greg Roman.

       Answer: Denied.

       220.   Defendant, Greg Roman was still the Director of the Middle East Forum.

       Answer: Admitted.

       221.   Defendant, Greg Roman began a campaign of retaliation aimed at Plaintiff,

Caitriona Brady and the other female employees in the office who reported discrimination and

harassment including Marnie Meyer, Lisa Barbounis, Delaney Yonchek, and Patricia McNulty.

       Answer: Denied

       222.   Sometime around March 2019, Defendant, Daniel Pipes announced that

Defendant, Greg Roman would return to full responsibilities as Director of the MEF.

       Answer: Admitted in part denied in part. It is admitted only that in March 2019
       Mr. Pipes met with Plaintiff, Ms. Meyer, and Ms. McNulty about Mr. Roman’s role
       at MEF. The remainder of this allegation is denied. Mr. Pipes held this meeting
       because Ms. Barbounis and Ms. McNulty specifically requested that Mr. Roman be
       permitted to assume his former role and responsibilities.

       223.   After this meeting Defendant, Greg Roman began working directly with the staff

again, including the female staff who Defendant, Greg Roman had systemically victimized.

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       Answer: Denied. Plaintiff asked for Mr. Roman’s return, he never victimized her.

       224.    Defendant, Greg Roman was brought back on what was labeled a “strict

probationary period.” Defendant, Daniel Pipes promised strict rules, guidelines, scrutiny, and

oversight. None of this occurred.

       Answer: Denied.

       225.    Defendant, Greg Roman was moved back to a position where he would interact

directly with the female staff who he prayed upon, abused, and harassed.

       Answer: Denied.

       226.    Plaintiff, Caitriona Brady never agreed to working with Defendant, Greg Roman

again and informed management of MEF that Plaintiff did not want to work with Defendant,

Greg Roman again. Plaintiff, Caitriona Brady objected to Defendant, Greg Roman’s return and

was scared, nervous, and upset that he was allowed to return after he spent years subjecting

female staff including the interns al MEF to severe and pervasive sexual harassment, sexual

misconduct, quid pro quo sexual propositions, sexual assaults, and sex and gender-based

discrimination.

       Answer: Denied.

       227.    The rules and guidelines agreed upon were intended to protect the female staff

who Defendant, Greg Roman had systematically victimized and sexually abused and harassed.

       Answer: Denied.

       228.    These rales and guidelines were quickly disregarded by Defendant, Daniel Pipes

and Defendant, Greg Roman.

       Answer: Denied.




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       229.    At no time was Defendant, Greg Roman on a probationary period. Defendant,

Daniel Pipes brought Defendant, Greg Roman back and allowed Defendant, Greg Roman to

resume all responsibilities as the number 2 person in charge of the MEF.

       Answer: Denied.

       230.    Shortly after Defendant, Greg Roman’s return, Plaintiff, Caitriona Brady noted

the discrimination and harassment and retaliation.

       Answer: Denied.

       231.    The female staff and Plaintiff, Caitriona Brady were subjected to a continuing

hostile work environment including retaliation due to their reporting and opposing Defendant,

Greg Roman’s discrimination and harassment in the workplace.

       Answer: Denied.

       232.    The female staff including Plaintiff, Caitriona Brady attempted to discuss the fact

that bringing Defendant, Greg Roman back was not working, and that Defendant, Greg Roman

was actively disregarding the guidelines and rules that the female staff and Defendant, Daniel

Pipes agreed upon as the conditions for Defendant, Greg Roman’s return.

       Answer: Denied.

       233.    Defendant, Daniel Pipes continued his same policy employed for at least the last

five (5) years, of ignoring, disregarding, and refusing to take action in response to reports of

discrimination, harassment and retaliation concerning Defendant, Greg Roman.

       Answer: Denied.

       234.    Defendant, Daniel Pipes and Defendant, Greg Roman used the female staffs

dedication to the MEF mission to convince female staff to tolerate discriminatory and harassing

working conditions.

       Answer: Denied.

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        235.    At all times Defendant, Greg Roman retained the position of Director of the

Middle East Forum.

        Answer: Admitted in part, denied in part. Mr. Roman retained the title of Director,
        but his responsibilities and benefits were diminished beginning in November 2018.

        236.    At all times, Plaintiff was forced to continue working at the Middle East Forum

with Defendant, Greg Roman.

        Answer: Denied.

        237.    During the March 2019 meeting, Defendant, Daniel Pipes announced that he was

going to eliminate the purported safe measures initiated to protect the female staff from

Defendant, Greg Roman’s severe and pervasive discrimination, harassment, and retaliation.

        Answer: Denied.

        238.    Accordingly, since March 2019, Plaintiff, Caitriona Brady has been subjected to

increased interactions with Defendant, Greg Roman.

        Answer: Denied.

        239.    This was around the same time when Plaintiff, Caitriona Brady learned that

Defendant, Greg Roman was spreading information about Plaintiffs father. Defendant, Greg

Roman was actively informing MEF staff that Plaintiff, Caitriona Brady’s father and Marnie

Meyer were engaged in an adulterous affair.

        Answer: Denied.

        240.    Defendant. Greg Roman began a rumor that Marnie Meyer was having a sexual

relationship with Plaintiffs father.

        Answer: Denied.

        241.    Plaintiff, Caitriona Brady is an employee at the Middle East Forum who holds the

position Development Associate.


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       Answer: Denied.

       242.    When Defendant, Greg Roman first learned that another allegation of sexual

harassment was reported, he did not yet know the details of the allegation and did not yet know it

related to his claims involving Marnie Meyer and Plaintiff’s father.

       Answer: Denied.

       243.    Accordingly, Defendant, Greg Roman and Defendant, Mathew Bennett began a

guessing game where they attempted to guess what and who the allegation involved.

       Answer: Denied.

       244.    Defendant, Greg Roman incorrectly guessed that the sexual harassment allegation

involved a former intern named Gabrielle Bloom who Defendant, Greg Roman purportedly paid

when MEF policy does not include payment to interns.

       Answer: Denied.

       245.    Defendant, Greg Roman subjected two female interns to quid pro quo sexual

harassment.

       Answer: Denied.

       246.    Just days after the March 2019 meeting when Defendant, Daniel Pipes announced

that he was eliminating the measures designed to protect female staff from Defendant Greg

Roman, Defendant, Greg Roman called Defendant, Mathew Bennett.

       Answer: Denied.

       247.    Defendant, Greg Roman informed Matthew Bennett, “now that I am back, I am

going to begin searching for a replacement for the Director of Development.”

       Answer: Denied.




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        248.    This was the position that one of Plaintiff’s coworkers named Patricia McNulty

held. Patricia McNulty was one of the employees who along with Plaintiff, Caitriona Brady

reported Defendant, Greg Roman’s unlawful conduct toward female staff.

        Answer: Denied.

        249.    Defendant, Greg Roman’s statement about coworker, Patricia McNulty indicated

his intent to retaliate against the employees who he called “the usurpers.” These were the women

who reported Defendant, Greg Roman’s discrimination and harassment.

        Answer: Denied.

        250.    Defendant, Greg Roman initiated a campaign of discrimination, harassment, and

retaliation against Plaintiff in an effort to effect Plaintiffs termination.

        Answer: Denied. Defendant further denies that Plaintiff was terminated.

        251.    Defendant, Daniel Pipes utterly disregarded all reports of ongoing discrimination,

harassment and retaliation involving Defendant, Greg Roman,

        Answer: Denied.

        252.    If anything, Defendant, Daniel Pipes has continued to provide Defendant, Greg

Roman more access, authority, and opportunity with which to achieve his discriminatory and

retaliatory agenda.

        Answer: Denied.

        253.    Despite allowing Defendant, Greg Roman to return on probationary status,

Defendant, Daniel Pipes continued to protect, shield, indemnify and assist Defendant, Greg

Roman from any and all impact caused by his severe and pervasive discrimination and

harassment in the workplace against female staff.

        Answer: Denied.



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        254.    Defendant, Daniel Pipes has allowed, permitted, sanctioned and condoned

Defendant, Greg Roman’s sexual harassment and sex and gender discrimination and has never

considered a permanent solution,

        Answer: Denied.

        255.    Accordingly, Defendant, Daniel Pipes has condoned, sanctioned, permitted, and

allowed the discrimination, harassment, and retaliation to continue.

        Answer: Denied.

        256.    Defendants have made Plaintiff’s working conditions so onerous, abusive, and

intolerable that no person in Plaintiff’s shoes should be expected to continue working under such

conditions.

        Answer: Denied.

        257.    Plaintiff was constructively discharged from her employment due to the return of

Defendant, Greg Roman and the severe and pervasive hostile work environment which Plaintiff,

Caitriona Brady was subjected to and due to the campaign of retaliation resulting from Plaintiff’s

opposition to and reports of discrimination and harassment in the workplace.

        Answer: Denied.

        258.    The unlawful acts, comments and conduct described above all involved the same

individual and the same pattern of behavior which includes sexual harassment, sexual

misconduct, and sex and gender discrimination to which the female employees of MEF have

been subjected to for at least the last five (5) years.

        Answer: Denied.

        259.    Defendants and Defendant, Daniel Pipes and Defendant, Greg Roman have been

subjecting female staff of The Middle East Forum to discrimination and harassment and

retaliation due to their sex and gender for years.

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        Answer: Denied.

        260.    Plaintiff, Caitriona Brady was highly aware that reporting discrimination and

harassment to Defendant, Daniel Pipes or other employees at the MEF was futile and would

probably result in retaliation.

        Answer: Denied.

        261.    Plaintiff, Caitriona Brady was aware of Tiffany Lee, Gabrielle Bloom, Leah

Merville, Lisa Barbounis, Laura Frank, Lara (last name unknown), Rosia (last name unknown),

Samantha Mandalas, and Eman Patel and the fact that little or nothing was done to protect any of

them pursuant to reports of discrimination and harassment in the workplace.

        Answer: Denied.

        262.    Moreover, Plaintiff, Caitriona Brady was acutely aware that some employees who

had made reports of discrimination and harassment in the workplace had ended up terminated

shortly after making the report.

        Answer: Denied.

        263.    Defendant, Greg Roman was allowed to continue subjecting female staff of the

MEF to discrimination and harassment for years without any corrective action until November

2018; when reports of at least six female employees were made simultaneously. Even then

Defendant, Daniel Pipes said that Defendant, Greg Roman’s conduct and comments did not rise

to the level where discipline was warranted and Defendant, Greg Roman was permitted to

continue his employment with MEF as Director of MEF.

        Answer: Denied.

        264.    Accordingly Plaintiff, Caitriona Brady maintained a reasonable belief that

reporting sex and gender discrimination and harassment would be futile or result in retaliation.

        Answer: Denied.

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        265.   The way in which Defendant, Daniel Pipes ignored reports of discrimination and

harassment in the workplace concerning Defendant, Greg Roman created a reasonable inference

that any individual report of sexual harassment, sexual misconduct, or sex and gender

discrimination by Defendant, Greg Roman would be futile and would most likely result in

retaliation.

        Answer: Denied.

        266.   Plaintiff, Caitriona Brady was made aware of Laura Frank and Lara’s (last name

unknown) termination which resulted when Laura and Lara discussed Defendant, Greg Roman’s

discrimination and. harassment in the workplace. This information was essentially a warning not

even to discuss reporting discrimination and harassment in the workplace.

        Answer: Denied. Defendant lacks knowledge or information sufficient to form a
        belief about the truth of this allegation and it is therefore denied. Furthermore,
        Defendant denies all allegations of discrimination and harassment.

        267.   Plaintiff, Caitriona Brady was made aware of Tiffany Lee’s attempts to vindicate

her rights in 2016 which resulted in Tiffany Lee’s termination.

        Answer: Denied.

        268.   For these reasons Plaintiff, Caitriona Brady was reasonably dissuaded from

reporting Defendant, Greg Roman’s discrimination and harassment.

        Answer: Denied. Defendant lacks knowledge or information sufficient to form a
        belief about the truth of this allegation and it is therefore denied.

        269.   It helped Plaintiff feel more protected when Marnie Meyer, Lisa Barbounis,

Patricia McNulty, and Delaney Yonchek all came together to report Defendant, Greg Roman’s

unlawful conduct and comments in November 2018.

        Answer: Denied.

        270.   Defendants used to employ a female individual named Eman Patel.


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        Answer: Admitted.

        271.      Eman Patel was a gay Muslim female who worked at Middle East Forum.

        Answer: Admitted.

        272.      Eman Patel was harassed by Defendant, Greg Roman until she was constructively

discharged. Defendant, Greg Roman’s objective was to make Eman Patel’s working conditions

so intolerable that she decided to discontinue her employment in a manner which Defendant,

Greg Roman and Defendant, Daniel Pipes considered voluntary.

        Answer: Denied.

        273.      Both Defendant, Daniel Pipes and Defendant, Greg Roman harassed Eman Patel

until she quit.

        Answer: Denied.

        274.      Because of the number of protected classes that she could be considered to fall

within, Defendant, Daniel Pipes and Defendant, Greg Roman called Eman Patel “a walking

lawsuit.”

        Answer: Denied.

        275.      Defendant, Daniel Pipes approved of the plan to harass and make Eman Patel’s

work life so intolerable that she quit on her own.

        Answer: Denied.

        276.      Defendant, Daniel Pipes and Defendant, Greg Roman used Eman Patel’s gender

to harass and discriminate.

        Answer: Denied.

        277.      Eman Patel is yet another member of the MEF female staff who was subjected to

discrimination and harassment due to her sex and gender.

        Answer: Denied.

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         278.   Samantha Mandalas was another female employee of the Middle East Forum.

         Answer: Admitted.

         279.   Samantha Mandates said in her exit interview “if I would have been a male I

would have gotten more respect.”

         Answer: Denied.

         280.   Samantha Mandalas was subjected to discrimination and harassment due to her

sex and gender.

         Answer: Denied.

         281.   Plaintiff, Caitriona Brady was subjected to discrimination and harassment by

Defendants, Middle East Forum, Greg Roman, Daniel Pipes, and Matt Bennett based upon

Plaintiff’s sex and gender.

         Answer: Denied.

         282.   The discrimination and harassment to which Plaintiff was subjected was severe

and pervasive and created a hostile work environment.

         Answer: Denied.

         283.   Plaintiffs supervisors were Greg Roman, Daniel Pipes, and Matt Bennett.

         Answer: Denied. This allegation is a legal conclusion, and it is therefore deemed
         denied.

         284.   During Plaintiffs employment, Defendants, including Defendant. Greg Roman,

subjected Plaintiff to discrimination and harassment by cursing, yelling, screaming, shouting,

insulting, belittling, disparaging, and verbally abusing female staff including Plaintiff, Caitriona

Brady.

         Answer: Denied.




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       285.    Plaintiff, Caitriona Brady reported Defendant, Greg Roman’s severe and

pervasive discrimination and harassment and was subjected to retaliation.

       Answer: Denied.

       286.    Defendant. Greg Roman created a hostile work environment and then

implemented and enforced policies whereby Plaintiff and the other female staff were denied the

ability to report the severe and pervasive discrimination and harassment in the workplace.

       Answer: Denied.

       287.    Defendant, Greg Roman initiated, implemented and enforced a policy whereby

female staff members were not allowed to interact with the President of the Middle East Forum:

Defendant, Daniel Pipes.

       Answer: Denied.

       288.    Defendant, Greg Roman actively and willfully worked to subjugate female

employees of the Middle East Forum through policies designed to impede, obstruct, end prevent

female employees from vindicating their rights pursuant to Title VII of the Civil Rights Act.

       Answer: Denied.

       289.    Defendant. Greg Roman ordered female employees including Plaintiff never to

speak directly With President. Daniel Pipes.

       Answer: Denied.

       290.    In November 2018, Plaintiff, Caitriona Brady notified and reported Defendant,

Greg Roman’s discrimination and harassment of the female staff during a meeting with

Defendant, Daniel Pipes when almost every female employee of the Middle East Forum came

forward to report the severe and pervasive discrimination and harassment to which female staff

were subjected by Defendant, Greg Roman.

       Answer: Denied.

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       291.    The female staff reported Defendant, Greg Roman’s harassment, bullying, and his

intolerable, onerous, and abusive conduct and comments designed to discriminate against female

employees of the Middle East Forum,

       Answer: Denied.

       292.    The meeting, which was sometime around November 5,2018, included the female

staff and Defendant. Daniel Pipes. The meeting was held to report Defendant, Greg Roman’s

discrimination and harassment ;n the workplace. Those in attendance included: Patricia McNulty,

Lisa Barbounis, Delaney Yonchek, Defendant, Matt Bennett. Stacy Roman, Thelma Prosser.

Marnie Meyer, Mark Fink, Defendant, Daniel Pipes, and Plaintiff, Caitriona Brady.

       Answer: Denied.

       293.    Stacy Roman is Defendant Greg Roman’s sister. Her presence at a meeting held

to report and begin investigations into Defendant. Greg Roman’s discrimination and harassment

in the workplace is indicative of Defendants ‘ utter and total disregard for the anti-discriminatory

intent promulgated by Title VII.

       Answer: Denied. Admitted in part, denied in part. It is admitted only that MEF
       employee Stacy Roman is Mr. Roman’s sister and that she was present at the
       meeting. The characterization of the substance of Ms. Roman’s communications is
       denied. Defendant denies all allegations of discrimination and harassment.

       294.    Throughout the entire meeting, while the female staff who were subjected to

severe and pervasive discrimination and harassment in the workplace attempted to report

Defendant Greg Roman’s unlawful conduct, Defendant, Greg Roman’s sister, Stacy Roman was

belligerent and interjected argumentative comments.

       Answer: Admitted in part, denied in part. It is admitted only that MEF employee
       Stacy Roman is Mr. Roman’s sister and that she was present at the meeting. The
       characterization of the substance of Ms. Roman’s communications is denied.




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       295.    For example. Stacy Roman blamed the women who were subjected to

discrimination and harassment based upon their sex and gender stating that they should not have

worn such short skirts.

       Answer: Denied.

       296.    Notwithstanding, Defendant. Daniel Pipes and house counsel, Mark Fink refused

to ask Stacy Roman to leave an order to provide the female staff who were subjected to

discrimination and harassment with a safe environment in which to make their reports.

       Answer: Denied.

       297.    Moreover, Daniel Pipes actually invited Defendant, Greg Roman to the meeting,

although he did not attend. Defendant, Greg Roman was asked not to intend within an hour

before the meeting started.

       Answer: Denied.

       298.    Defendant, Daniel Pipes coerced the female staff to sign nondisclosure

agreements (“NDA”) as a condition to attending the meeting and having reports of

discrimination and harassment considered for the first time.

       Answer: Denied.

       299.    Defendant, Daniel Pipes would not allow the female staff including Plaintiff,

Caitriona Brady to report discrimination and harassment in the workplace until she signed an

NDA.

       Answer: Denied.

       300.    Defendant, Greg Roman set up cameras around the office and harassed the female

staff by monitoring everything they did, including Plaintiff, Caitriona Brady.

       Answer: Denied.



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       301.      These cameras are still operational today and Defendant, Greg Roman continues

to harass the female staff using surveillance equipment.

       Answer: Denied.

       302.      Defendant, Greg Roman used the surveillance equipment to monitor female staff

and how often and how long they used the bathroom.

       Answer: Denied.

       303.      Defendant, Greg Roman made it known that he was watching the female staff

through the video system. For example, Defendant, Greg Roman would make comments to

employees that were working about the work they were presently performing such as, “didn’t

you already input that one?”

       Answer: Denied.

       304.      Defendant, Greg Roman’s message was designed to harass, scare, intimidate, and

female staff by sending instant-messages about what female members of the staff were working

on.

       Answer: Denied.

       305.      Defendant, Greg Roman told female employees how many times they used the

restroom in a given day.

       Answer: Denied.

       306.      For example, he would alter the female staff to the number of times that they used

the bathroom in a given day.

       Answer: Denied.

       307.      Defendant, Greg Roman actively attempted to engage inters of the MEF in sexual

relationships.

       Answer: Denied.

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         308.   Defendant Greg Roman uses his position and power as a proxy for the MEF to

engage interns of the MEF in sexual relationships.

         Answer: Denied.

         309.   Because of Defendant, Greg Roman’s history of discrimination and harassment in

the workplace, to which female staff at MEF have been subjected. Plaintiff, Caitriona Brady is

afraid to be alone with Defendant Greg Roman.

         Answer: Denied.

         310.   Plaintiff, Caitriona Brady sent text messages to her supervisor and stated that

Plaintiff was afraid to be alone with Defendant, Greg Roman.

         Answer: Denied. Defendant has insufficient knowledge or information to admit or
         deny this allegation, and therefore denies the same.

         311.   Matthew Bennett refused to conduct an investigation. No corrective action was

taken.

         Answer: Denied.

         312.   Defendant, Greg Roman forces female employees to sit next to him at his desk,

instead of across from him.

         Answer: Denied.

         313.   Defendant, Greg Roman maneuvers himself to get inappropriately close to the

female staff including Plaintiff, Caitriona Brady.

         Answer: Denied.

         314.   Defendant, Greg Roman spoke in a sexually suggestive way to and about female

staff and it was common knowledge that Defendant, Greg Roman used his position as Director of

the Middle East Forum to prey upon the female staff and interns. Defendant, Greg Roman spoke

about his sexual conquests to employees of the MEF and female members of the MEF staff


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including Plaintiff, Caitriona Brady were afraid to work with or be alone with Defendant, Greg

Roman.

       Answer: Denied.

       315.     Defendant, Greg Roman continued to divulge inappropriate sexual information to

female staff.

       Answer: Denied.

       316.     For example, Defendant, Greg Roman spoke about his girlfriend giving him

blowjobs.

       Answer: Denied.

       317.     Defendant, Greg Roman gave money to an intern named Gabrielle Bloom which

is against Middle East Forum policy.

       Answer: Denied.

       318.     Defendant, Greg Roman started inappropriate sexual rumors involving staff

members including, Plaintiff, Caitriona Brady.

       Answer: Denied.

       319.     Defendant, Greg Roman informed people in the office that Plaintiff’s father was

having a sexual affair with another staff member.

       Answer: Denied.

       320.     Defendant, Daniel Pipes also maintained sexual relationships with employees

including an employee named Brook Goldstein.

       Answer: Denied.

       321.     At present, Plaintiff is subjected to a severe and pervasive atmosphere of

discrimination and harassment based upon her sex and gender and in retaliation for Plaintiffs

reports and opposition to discrimination and harassment.

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       Answer: Denied.

       322.     Plaintiff continues her attempts to report and obtain assistance from Defendant,

Daniel Pipes.

       Answer: Denied.

       323.     Defendant, Daniel Pipes continues to protect, shield, indemnify and assist

Defendant, Greg Roman from any and all consequences caused by his severe and pervasive

discrimination and harassment.

       Answer: Denied.

       324.     Accordingly, Defendant, Daniel Pipes has condoned, sanctioned, permitted, and

allowed the discrimination, harassment, and retaliation to continue.

       Answer: Denied.

       325.     Defendants have made Plaintiffs working conditions so onerous, abusive, and

intolerable that no person n Plaintiffs shoes should be expected to continue working under such

conditions.

       Answer: Denied.

       326.     As a result of Defendants’ actions, Plaintiff felt extremely humiliated, degraded,

victimized, embarrassed and emotionally distressed.

       Answer: Denied.

       327.     The severe and pervasive discrimination and harassment in the workplace has

caused Plaintiff to suffer an acerbation and aggravation of any preexisting condition involving

emotional distress.

       Answer: Denied.

       328.     As a result of Defendants’ conduct, Plaintiff was caused to sustain serious and

permanent personal injuries, including permanent psychological injuries. As a result of

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Defendants’ actions, Plaintiff felt extremely humiliated, degraded, victimized, embarrassed and

emotionally distressed.

       Answer: Denied.

       329.    As a result of the acts and conduct complained of herein, Plaintiff has suffered

and wil1 continue to suffer a loss of income, loss of salary, bonuses, benefits and other

compensation to which such employment entailed.

       Answer: Denied.

       330.    Plaintiff also suffered future pecuniary losses, emotional pain, humiliation,

suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

       Answer: Denied.

       331.    Plaintiff has further experienced severe emotional and physical distress.

       Answer: Denied.

       332.    Plaintiff has suffered from severe emotional distress which has caused physical

manifestations as a result of Defendants’ unlawful and severe and pervasive conduct and

comments.

       Answer: Denied.

       333.    Any pre-existing condition which Plaintiff may have maintained prior to her

employment for Defendant, MEF was acerbated and aggravated by the severe and pervasive

discrimination and harassment in the workplace.

       Answer: Denied.

       334.    As Defendants’ conduct has been malicious, willful, outrageous, and conducted

with full knowledge of the law. Plaintiff demands Punitive Damages as against all the

Defendants, jointly and severally.




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        Answer: Denied. This allegations is a conclusion of law to which no response is
        required and it is therefore denied.

        335.    Defendants have exhibited a pattern and practice of not only discrimination but

also retaliation. At all times material Defendants refused to investigate or take appropriate

remedial action in response to Plaintiffs complaints of discrimination, harassment and hostile

work environment.

        Answer: Denied.

        336.    Defendants discriminatory conduct was severe and pervasive, and created a

hostile work environment for Plaintiff.

        Answer: Denied. The allegations is a conclusion of law to which no response is
        required and it is therefore denied.

        337.    The above are just some examples of some of the discrimination and retaliation to

which Defendants subjected Plaintiff.

        Answer: Denied.

        338.    Plaintiff claims a pattern and practice of discrimination, claims continuing

violations, and makes all claims herein under the continuing violations doctrine. Defendants have

exhibited a pattern and practice of not only discrimination but also retaliation.

        Answer: Denied.

                         FIRST CAUSE OF ACTION
                    DISCRIMINATION UNDER TITLE VII
          HOSTILE WORK ENVIRONMENT AND DISPARATE TREATMENT
                        (all corporate Defendants only)

        339.    Plaintiff, Caitriona Brady, hereby incorporates all allegations contained in

paragraphs one (1) through three-hundred-thirty-eight (338) as fully as if they were set forth at

length. Denied. Defendants incorporate the answers and denials set forth above as if they were

set forth at length.


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       Answer: Denied. Defendant incorporates the answers and denials set forth above as
       fully as if they were set forth at length.

       340.    Plaintiff was also constructively discharged, however, Plaintiff will amend her

complaint when Plaintiff receives a second Right to Sue letter from the EEOC. When Plaintiff

filed her first Charge of Discrimination, Plaintiff remained employed with the Middle East

Forum. Accordingly. Plaintiff did not include facts related to Plaintiffs constructive discharge ii

her first Charge of Discrimination because it had not yet occurred. Plaintiff has since filed a

second Charge of Discrimination with the EEOC and reserves the right to amend her Complaint

to include an additional disparate treatment claim related to the hostile work environment,

retaliation and Plaintiffs constructive discharge that occurred after Plaintiff filed her first Charge

of Discrimination.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       341.    This claim is authorized and instituted pursuant to the provisions of Title VII of

the Civil Rights Act of 1964. 42 U.S.C. § 2000e et. seq., as amended, for relief based upon the

unlawful employment practices of the above-named Defendants. Plaintiff complains of

Defendants’ violation of Title VII’s prohibition against discrimination in employment based, in-

whole or in part, upon an employee’s race, color, and/or national origin.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       342.    SEC. 20Q0e-2 [Section 703] states as follows:

               (a)     Employer practices

               It shall be an unlawful employment practice for an employer -

               (1)     to fail or refuse to hire or to discharge an individual, or otherwise to

               discriminate against any individual with respect to his compensation, terms,


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                 conditions, or privileges of employment, because of such individual’s race, color,

                 religion, sex, or national origin; or

                 (2)     to limit, segregate., or classify his employees or applicants for

                 employment in any way which would deprive or tend to deprive any individual of

                 employment opportunities or otherwise adversely affect his status as an employee,

                 because of such individual’s race, color, religion, sex, or national origin.

          343.   Defendants engages in unlawful employment practices prohibited by 42 U.S.C. §

2000e et. seq.. by discriminating against Plaintiff because of her sex and gender.

          344.   Plaintiff, Caitriona Brady was subjected to sex and gender discrimination which

was severe and pervasive.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required and it is therefore denied.

          345.   Plaintiff claims that she was subjected to a hostile work environment based upon

the severe and pervasive discrimination and harassment in the workplace.

          Answer: Denied.

          346.   Plaintiff was also terminated from her employment based upon Plaintiffs sex and

gender.

          Answer: Denied

          347.   Defendants engaged in several acts of discrimination and harassment that were so

severe that a single act was sufficient to create a hostile work environment.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required and it is therefore denied.

          348.   Defendants also engaged on ongoing, continuous, daily abuse which was so

pervasive as to create a hostile work environment.



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          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required and it is therefore denied. Defendant denies all allegations of abuse and
          hostile work environment.

                                 SECOND CAUSE OF ACTION
                               RETALIATION UNDER TITLE VII
                               (against corporate Defendants only)

          349.   Plaintiff, Caitriona Brady, hereby incorporates all allegations contained in

paragraphs one (1) through three-hundred-forty-eight (348) as fully as if they were set forth at

length.

          Answer: Denied. Defendant incorporates the answers and denials set forth above as
          fully as if they were set forth at length.

          350.   Title VII of the Civil Rights Act of 1962, as amended, 42 U.S.C § 2000e-3(a)

provides that it shall be unlawful employment practice for an employer: “(1) to…discriminate

against any of his employees…because [s]he has opposed any practice made an unlawful

employment practice by this subchapter, or because [s]he has made a charge, testified, assisted,

or participated in any matter in an investigation, proceeding, or hearing under this subchapter.”

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required and it is therefore denied.

          351.   Defendants engaged IN unlawful employment practices prohibited by 42 U.S.C, §

2000e et. seq. by retaliating against Plaintiff with respect to the terms, conditions, and/or

privileges of his employment because of her opposition to and reporting of the unlawful

employment practices of Defendants.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required and it is therefore denied.

          352.   Plaintiff continued to oppose the severe and pervasive discrimination and

harassment in the workplace and even submitted a written statement to report the discrimination

and harassment in the workplace.


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          Answer: Denied.

          353.   Defendants refused to investigate Plaintiff’s reports of discrimination and

harassment .n the workplace.

          Answer: Denied. Defendant denies all allegations of discrimination and
          harassment.

          354.   Defendants refused to initiate prompt corrective actions.

          Answer: Denied.

          355.   Accordingly, Defendants permitted, sanctioned, condoned, and allowed the

discrimination and harassment to continue.

          Answer: Denied. Defendant denies all allegations of discrimination and harassment.

          356.   Any corrective action taken by Defendants was not enforced and Plaintiff was

subjected to a campaign of severe and pervasive retaliation which also created a hostile work

environment.

          Answer: Denied. The allegation is as a conclusion of law to which no response is
          required and it is therefore denied. Defendant denies all allegations of retaliation
          and a hostile work environment.

                             THIRD CAUSE OF ACTION
                    NEGLIGENT HIRING, RETENTION, SUPERVISION
                          (against corporate Defendants only)

          357.   Plaintiff, Caitriona Brady, hereby incorporates all allegations contained in

paragraphs one (1) through four-hundred-fifty-six (456) as fully as if they were set forth at

length.

          Answer: Denied. Defendant incorporates the answers and denials set forth above as
          fully as if they were set forth at length.

          358.   Pennsylvania recognizes claims for negligent hiring, retention and supervision

when an employer has failed to exercise reasonable care in the selection or training of its

employees.

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       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       359.    To maintain such an action, plaintiff must establish all elements of negligence,

including causation.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       360.    Plaintiff has indeed established above the elements of negligence. Defendant,

Middle East Forum owed a duty of care to its employees to use such care in the hiring, retention

and supervision of its employees.

       Answer: Denied. The allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       361.    An employer may be negligent for the failure to exercise reasonable care in

determining an employee’s propensity for violence in an employment situation where the

violence would harm a third person.

       Answer: Denied, the allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       362.    In these situations, a plaintiff must establish that the employer breached a duty to

protect others against a risk of harm.

       Answer: Denied, the allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       363.    When the plaintiff has no special relationship with the employer (i.e., as in the

case of a stranger), the duty owed may be inferred from the general duty imposed on all persons

not to place others at risk through their actions.

       Answer: Denied.

       364.    The scope of this duty is limited to those risks that are reasonably foreseeable by

the actor in the circumstances of the case.


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       Answer: Denied, the allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       365.    Plaintiff has alleged a history of sexual harassment, sexual abuse, and/or sex and

gender discrimination by Defendant. Greg Roman to which the female employees working at the

Middle East Forum have been subjected. Plaintiff has alleged facts that indicate that Defendant,

Middle East Forum had sufficient knowledge to be fully cognizable of the risk of harm that

Defendant, Greg Roman posed to Plaintiff. Caitriona Brady.

       Answer: Denied, the allegation is as a conclusion of law to which no response is
       required and it is therefore denied. Defendant denies all allegations of sexual
       harassment, sexual abuse, and/or discrimination.

       366.    Defendant. Middle East Forum breached its duty of care and this directly caused

the sexual assault of Plaintiff, Caitriona Brady.

       Answer: Denied, the allegation is as a conclusion of law to which no response is
       required and it is therefore denied.

       367.    Defendant, Middle East Forum breaches its duty of reasonable care and this

directly led to the severe and pervasive sexual harassment to which Plaintiff, Caitriona Brady

was subjected by Defendant, Greg Roman.

       Answer: Denied, the allegation is as a conclusion of law to which no response is
       required and it is therefore denied. Defendant denies all allegations of sexual
       harassment.

       368.    As a result of Defendant, Greg Roman’s conduct. Plaintiff, Caitriona Brady

suffered a physical injury.

       Answer: Denied, the allegation is as a conclusion of law to which no response is
       required and it is therefore denied.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Defendant denies that Plaintiff is entitled to any relief whatsoever and, as

such, respectfully requests that the Court enter judgment in its favor. Defendant further requests

that the Court award its costs and fees expended in this action and any other relief it deems just

and proper.

                                  AFFIRMATIVE DEFENSES

                            FIRST AFFIRMATIVE DEFENSE
       Plaintiff’s Amended Complaint fails, in whole or in part, to state a claim upon which

relief may be granted.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by her failure to mitigate damages.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by the exclusive remedy provisions of

the Pennsylvania Workers’ Compensation Act.

                            FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part by the doctrine of after-acquired

evidence.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part because Middle East Forum had in place

at all applicable times a policy prohibiting discrimination, harassment, and retaliation and

exercised reasonable care to prevent and promptly correct any such conduct.




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                               SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part by her unreasonable failure to take

advantage of preventative and corrective opportunities, including those provided under

applicable discrimination, harassment and/or retaliation policies.

                             SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by the doctrines of laches, fraud,

waiver, estoppel, and/or unclean hands.

                              EIGHTH AFFIRMATIVE DEFENSE

       The claims asserted in the Amended Complaint are barred in whole or in part because in

every employment decision challenged herein, Middle East Forum acted based on legitimate,

non-discriminatory, non-retaliatory factors.

                               NINTH AFFIRMATIVE DEFENSE

       Defendant at all times acted in good faith, based upon a reasonable belief that it was in

compliance with all legal requirements.

                              TENTH AFFIRMATIVE DEFENSE

       Some or all of the claims in the Amended Complaint are barred in whole or in part by the

applicable statute of limitations.

                            ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part because she failed to exhaust

administrative remedies.

                            TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred in whole or in part by her failure to mitigate her claimed

damages.



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                         THIRTEENTH AFFIRMATIVE DEFENSE

       The relief is requested by Plaintiff is barred by the doctrine of unclean hands.

                                 RESERVATION OF RIGHTS

       Defendant has insufficient knowledge or information on which to form a belief as to

whether it may have additional, as yet unstated, defenses available. Defendant reserves the right

to amend or assert additional defenses which may become known during the course of discovery

or revealed during pretrial proceedings.

       WHEREFORE, Defendant respectfully requests that this Court grant judgment in

Defendant’s favor and against plaintiff on all Counts of the Amended Complaint, and for such

further relief as the Court deems just and proper.

                                              Respectfully submitted,

Dated: January 16, 2020                       COZEN O’CONNOR

                                              s/David J. Walton
                                              David J. Walton (PA#86019)
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                                              The Middle East Forum




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                               CERTIFICATE OF SERVICE

   I hereby certify that I served upon Seth Carson, Esq. a true and correct copy of the within
                       Answer with Affirmative Defenses via ECF filing.




                                            /s/ David J. Walton
                                            David J. Walton, Esquire

                                            COZEN O’CONNOR

                                            Attorney for Defendant,
                                            The Middle East Forum

Dated: January 16, 2020




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